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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 REGINALD JONES,                                    )
                                                    )
                Plaintiff,                          )
                                                    )
 vs.                                                )       Case No. 19-cv-1281-NJR
                                                    )
                                                    )
 SANDRA QUICK, et al.,                              )
                                                    )
              Defendants.                           )

                             MEMORANDUM AND ORDER

ROSENSTENGEL, Chief Judge:

       This matter is before the Court on discovery motions filed by Plaintiff Reginald Jones.

Jones filed a motion for limited discovery (Doc. 76). Defendants filed a response to that motion

(Doc. 80), and Jones filed a reply (Doc. 82). Jones also filed a motion to compel (Doc. 78), and

Defendants filed a motion to strike Jones’s motion to compel (Doc. 79).

   A. Motion for Limited Discovery (Doc. 76)

       Jones’s motion for limited discovery seeks copies of all grievances that he filed during his

over 20 year stay within the Illinois Department of Corrections (“IDOC”). Jones believes the

grievances, which total seven in number, will show the revision dates of IDOC’s grievance forms

and demonstrate IDOC’s failure to revise its forms during the relevant time period. In response,

Defendants note that the grievances are from 1997 to 2017 and not related to the allegations in

this case, which occurred in 2019.

       The Court does not find that the grievances themselves are relevant to whether Jones

exhausted his administrative remedies. To the extent that he argues that the grievance forms have




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been improperly revised, he may raise that argument at the evidentiary hearing, but the actual

forms themselves are not needed to make that argument. The motion is DENIED.

   B. Motion Compel (Doc. 78)

       Jones’s motion to compel seeks to retain his personal property. He indicates that he will

face a potential “strip-out” of property when he ultimately refuses housing and that his lack of

property will affect his ability to prepare for the evidentiary hearing. Defendants request that the

Court strike the motion as it raises nearly identical arguments to Jones’s previous motion to

compel (Doc. 70), which this Court denied. The only change in circumstances that Jones notes is

that the Court has now set a date for the evidentiary hearing.

       Jones’s motion is in fact nearly identical to the motion he previously filed (Doc. 70) and

identified in other motions (Doc. 77). Jones has not shown that his property has been taken away

from him or that he faces a possible “strip-out” of his property prior to the evidentiary hearing.

His belief is based on pure speculation. Should Jones’s property be confiscated prior to the

hearing, he may raise that issue with the Court at that time. But at this time, he has not shown

that his property is likely to be confiscated.

       Accordingly, his motion is DENIED (Doc. 78). Defendants’ motion to strike (Doc. 79) is

DENIED as moot.

       IT IS SO ORDERED.

       DATED: 1/14/2021


                                                     ___________________________
                                                     NANCY J. ROSENSTENGEL
                                                     Chief U.S. District Judge




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